     Case 3:16-cv-00025-DJH Document 1 Filed 01/12/16 Page 1 of 6 PageID #: 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE
                                          3-16-cv-25-DJH
                              CASE NO. ________________
                                  Electronically Filed


Marva Dockery, as Attorney-in-Fact                                               PLAINTIFF
of Mildred Marshall

v.

GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek;
GGNSC Administrative Services, LLC;
GGNSC Clinical Services, LLC;
GGNSC Equity Holdings, LLC;
Golden Gate National Senior Care, LLC;
GGNSC Holdings, LLC; and
James Rife, in his capacity as Administrator of Golden LivingCenter - Hillcreek DEFENDANTS


                                   NOTICE OF REMOVAL

        GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek; GGNSC

Administrative Services, LLC; GGNSC Clinical Services, LLC; GGNSC Equity Holdings, LLC;

Golden Gate National Senior Care, LLC; and GGNSC Holdings, LLC (hereinafter collectively

“Defendants”), hereby remove to the United States District Court for the Western District of

Kentucky, at Louisville, the action captioned Marva Dockery, as Attorney-in-Fact of Mildred

Marshall, v. GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek; GGNSC

Administrative Services, LLC; GGNSC Clinical Services, LLC; GGNSC Equity Holdings, LLC;

Golden Gate National Senior Care, LLC; GGNSC Holdings, LLC; and James Rife, in his

capacity as Administrator of Golden LivingCenter - Hillcreek, Case No. 15-CI-06437, which is

currently pending in Jefferson Circuit Court, in the Commonwealth of Kentucky. As grounds for

their removal of the Action, Defendants state:




                                                 1
7200606v.1
   Case 3:16-cv-00025-DJH Document 1 Filed 01/12/16 Page 2 of 6 PageID #: 2




        1.     On December 21, 2015, Marva Dockery (“Plaintiff”) filed a Complaint in

Jefferson Circuit Court, Case No. 15-CI-06437. GGNSC Louisville Hillcreek, LLC d/b/a Golden

LivingCenter – Hillcreek was served and received a copy of Plaintiff’s Complaint on December

28, 2015; GGNSC Administrative Services, LLC was served and received a copy of Plaintiff’s

Complaint on December 28, 2015; GGNSC Clinical Services, LLC was served and received a

copy of Plaintiff’s Complaint on December 28, 2015; GGNSC Equity Holdings, LLC was served

and received a copy of Plaintiff’s Complaint on December 23, 2015; Golden Gate National

Senior Care, LLC was served and received a copy of Plaintiff’s Complaint on December 28,

2015, and; GGNSC Holdings, LLC was served on December 23, 2015, respectively. James Rife

has not been served with any pleadings, process or other papers in connection with this case.

Copies of all process and pleadings in said action are attached hereto in accordance with 28

U.S.C. 1446(a) as Exhibit A.

        2.     According to allegations in Plaintiff’s Complaint, Plaintiff is and was at all times

relevant hereto, including at the time of filing this Notice of Removal and at the commencement

of Civil Action No. 15-CI-06437, a citizen of Kentucky.

        3.     Defendant, GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter –

Hillcreek, at all times relevant hereto, including at the time of filing this Notice of Removal and

at the commencement of Civil Action No. 15-CI-06437, was a Delaware limited liability

company with its principal place of business in Plano, Texas. The sole member of GGNSC

Frankfort, LLC is GGNSC Equity Holdings, LLC, which is a citizen of California and Delaware.

        4.     Defendant, GGNSC Administrative Services, LLC d/b/a Golden Ventures, at all

times relevant hereto, including at the time of filing this Notice of Removal and at the

commencement of Civil Action No. 15-CI-06437, was a Delaware limited liability company with



                                                2
7200606v.1
   Case 3:16-cv-00025-DJH Document 1 Filed 01/12/16 Page 3 of 6 PageID #: 3




its principal place of business in Plano, Texas. The sole member of GGNSC Administrative

Services, LLC is GGNSC Holdings, LLC, which is a citizen of California and Delaware.

        5.    Defendant GGNSC Clinical Services, LLC at all times relevant hereto, including

at the time of filing this Notice of Removal and at the commencement of Civil Action No. 15-CI-

06437, was a Delaware limited liability company with its principal place of business in Plano,

Texas. The sole member of GGNSC Equity Holdings, LLC, is Golden Gate National Senior

Care, LLC, which is a citizen of California and Delaware.

        6.    Defendant GGNSC Equity Holdings, LLC at all times relevant hereto, including

at the time of filing this Notice of Removal and at the commencement of Civil Action No. 15-CI-

06437, was a Delaware limited liability company with its principal place of business in Plano,

Texas. The sole member of GGNSC Equity Holdings, LLC, is Golden Gate National Senior

Care, LLC, which is a citizen of California and Delaware.

        7.    Defendant Golden Gate National Senior Care, LLC at all times relevant hereto,

including at the time of filing this Notice of Removal and at the commencement of Civil Action

No. 15-CI-06437, was a Delaware limited liability company with its principal place of business

in Plano, Texas. The sole member of Golden Gate National Senior Care, LLC is GGNSC

Holdings, LLC, which is a citizen of California and Delaware.

        8.    Defendant, GGNSC Holdings, LLC d/b/a Golden Horizons at all times relevant

hereto, including at the time of filing this Notice of Removal and at the commencement of Civil

Action No. 15-CI-06437, was a Delaware limited liability company with its principal place of

business in Plano, Texas. The sole member of GGNSC Holdings, LLC, is Drumm Investors

LLC, which is a citizen of California and Washington.




                                               3
7200606v.1
   Case 3:16-cv-00025-DJH Document 1 Filed 01/12/16 Page 4 of 6 PageID #: 4




          9.    Defendant James Rife, in his capacity as Administrator of Golden LivingCenter –

Hillcreek at all times relevant hereto, including at the time of filing this Notice of Removal and

at the commencement of Civil Action No. 15-CI-06437 was a citizen of the State of Mississippi.

To date, James Rife has not been served with process.

          10.   Although the consent of Defendant Rife is not required, he does consent to the

removal of this action.

          11.   This action is one over which this Court has original jurisdiction pursuant to the

provisions of 28 U.S.C. 1332(a)(1), and is one that may be removed to this Court pursuant to 28

U.S.C. 1441(a). This is an action between citizens of different states.

          12.   Based upon admissions in the Complaint attached hereto, Plaintiff seeks in excess

of $75,000.00 in damages, exclusive of interest and costs. The Complaint alleges that Ms.

Marshall was a resident at Golden LivingCenter – Hillcreek from 07/09/15 – 09/07/2015,

suffered multiple injuries, including a hip fracture, and seeks all medical expenses, pain and

suffering, punitive damages and attorneys fees.

          15.   This Notice of Removal is filed within thirty (30) days after GGNSC Louisville

Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek; GGNSC Administrative Services, LLC;

GGNSC Clinical Services, LLC; GGNSC Equity Holdings, LLC; Golden Gate National Senior

Care, LLC; GGNSC Holdings, LLC received a copy of Plaintiff’s Complaint on December 28,

2015, December 28, 2015, December 28, 2015, December 23, 2015, December 28, 2015, and

December 23, 2015, respectively, as required by 28 U.S.C. 1446(b).

          16.   A copy of this Notice of Removal will simultaneously be filed with the Clerk for

the Jefferson Circuit Court, in the Commonwealth of Kentucky and served upon other counsel of

record.



                                                  4
7200606v.1
   Case 3:16-cv-00025-DJH Document 1 Filed 01/12/16 Page 5 of 6 PageID #: 5




                                    Respectfully submitted,

                                    WILSON, ELSER, MOSKOWITZ,
                                    EDELMAN & DICKER, LLP

                                    /s/ Marcia L. Pearson
                                    Marcia L. Pearson,
                                    Edward M. O’Brien
                                    100 Mallard Creek Road, Suite 250
                                    Louisville, KY 40207
                                    Telephone: (502) 238-8500
                                    Facsimile: (502) 238-7995

                                    Counsel for Defendants




                                       5
7200606v.1
   Case 3:16-cv-00025-DJH Document 1 Filed 01/12/16 Page 6 of 6 PageID #: 6




                               CERTIFICATE OF SERVICE

        I hereby certify that on January 12, 2016, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to
the following:

Marcia L. Pearson
Edward M. O’Brien

And that a copy of the foregoing was served via first class U.S. Mail, postage prepaid, on the
following:

Brent L. Moss
Brian D. Reddick
Matthew D. Swindle
Robert W. Francis,
REDDICK MOSS, PLLC
One Information Way, Suite 105
Little Rock, AR 72202

Lee Coleman
HUGHES & COLEMAN
1256 Campbell Lane, #201
Bowling Green, KY 42102

                                            /s/ Marcia L. Pearson
                                            Marcia L. Pearson
                                            Edward M. O’Brien
                                            marcia.pearson@wilsonelser.com
                                            Edward.obrien@wilsonelser.com
                                            100 Mallard Creek Road, Suite 250
                                            Louisville, KY 40207
                                            Telephone: (502) 238-8500
                                            Facsimile: (502) 238-7995
                                            Counsel for Defendants




                                               6
7200606v.1
